     Case 2:14-cr-00168-TOR     ECF No. 1065    filed 08/17/15   PageID.5195 Page 1 of 3




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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
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 7   UNITED STATES OF AMERICA,
                                                   NO: 2:14-CR-0168-TOR-23
 8                             Plaintiff,
                                                   ORDER DENYING MOTION TO
 9         v.                                      ALTER JUDGMENT

10   THEODORE J. GRIFFITH,

11                             Defendant.

12         BEFORE THE COURT are Defendant’s Motion to Extend Time to Report

13   to Prison/Allow Electronic Home Monitoring (ECF No. 1052), and two Motions to

14   Expedite (ECF No. 1053; 1054). On July 31, 2015, Theodore J. Griffith appeared

15   before the Court and was sentenced to, inter alia, 60 days in jail and was directed

16   to surrender as directed by the United States on or after August 17, 2015. ECF No.

17   1033. Defendant now seeks to delay his surrender by at least 30 days or convert

18   his jail sentence to electronic home monitoring. The Court has reviewed the

19   motions and the Government’s response and is fully informed.

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     ORDER DENYING MOTION TO ALTER JUDGMENT ~ 1
     Case 2:14-cr-00168-TOR      ECF No. 1065    filed 08/17/15   PageID.5196 Page 2 of 3




 1         A judgment of conviction that includes a sentence of imprisonment

 2   constitutes a final judgment and may not be modified by a district court except in

 3   limited circumstances. Dillon v. United States, 560 U.S. 817, 824 (2010)

 4   (quotation and brackets omitted, citing 18 U.S.C. § 3582(b)). A district court

 5   does not have inherent power to resentence defendants at any time. United States v.

 6   Handa, 122 F.3d 690, 691 (9th Cir. 1997). Its authority to do so must flow either

 7   from statue or the Federal Rules of Criminal Procedure. United States v.

 8   Barragan-Mendoza, 174 F.3d 1024, 1028–30 (9th Cir. 1999). Rule 35 delineates

 9   a limited set of circumstances in which a sentence may be corrected or reduced.

10   Specifically, it authorizes a court to “correct a sentence that resulted from

11   arithmetical, technical, or other clear error” within 14 days after sentencing. Fed.

12   R. Crim. P. 35(a). Rule 35 “is not is not intended to afford the court the

13   opportunity to reconsider the application or interpretation of the sentencing

14   guidelines or for the court simply to change its mind about the appropriateness of

15   the sentence.” 1991 Advisory Committee notes to Rule 35.

16         Rule 36 allows the correction of “[c]erical mistakes in judgments, orders or

17   other parts of the record and errors in the record arising from oversight or

18   omission. . .” Fed. R. Crim. P. 36. Rule 36 does not apply to errors made by the

19   court itself. See United States v. Penna, 319 F.3d 509, 513 (9th Cir. 2003).

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     ORDER DENYING MOTION TO ALTER JUDGMENT ~ 2
     Case 2:14-cr-00168-TOR     ECF No. 1065    filed 08/17/15   PageID.5197 Page 3 of 3




 1         The Court has given due consideration to Defendant’s motion and denies the

 2   same. Whether or not the Court has jurisdiction to modify the sentence, the

 3   decision remains the same.

 4         ACCORDINGLY, IT IS HEREBY ORDERED:

 5         1. Defendant’s Motion to Extend Time to Report to Prison/Allow Electronic

 6   Home Monitoring (ECF No. 1052) is DENIED.

 7         2. Defendant’s Motions to Expedite (ECF No. 1053; 1054) are GRANTED.

 8         The District Court Clerk is hereby directed to enter this Order and provide

 9   copies to counsel, the United States Probation Office, and the United States

10   Marshal.

11         DATED August 17, 2015.

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13                                THOMAS O. RICE
                           UNITED STATES DISTRICT JUDGE
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     ORDER DENYING MOTION TO ALTER JUDGMENT ~ 3
